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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
SHMUEL STOLLMAN and ELISA
STOLLMAN, individually and on behalf of
their infant children ES and LS,

                                   Plaintiffs,                     ORDER

                 -against-                                 20-CV-8937 (JPC)(KNF)

LAKEASHA WILLIAMS, MIRIAM
ORTIZ-DOWNES, GLENN HYMAN,
KAI HAYES, EDWARD O’CONNOR,
ANNEMARIE FUSCHETTI, KEREN
ENNETTE, CARMELA MONTANILE,
EBONY RUSSELL, TONYA
WHEELOCK, and CITY OF NEW YORK,

                                    Defendants.
------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

        IT IS HEREBY ORDERED that a telephone conference shall be held in the above-

captioned action on November 18, 2021, at 4:00 p.m. All parties are directed to call (888) 557-

8511 and, thereafter, enter access code 4862532.

        Counsel to the plaintiffs is directed to serve a copy of this order on Safe Horizon,

Inc., and file proof of such service with the Clerk of Court.

Dated: New York, New York                                 SO ORDERED:
      November 15, 2021
